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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED

 

SECURITIES AND EXCHANGE COMMISSION, DOC #:
DATE FILED: 3/18/2021

Plaintiff,

 

-against-

20 Civ. 10832 (AT)

RIPPLE LABS, INC., BRADLEY
GARLINGHOUSE, and CHRISTIAN A. ORDER
LARSEN,

 

Defendants.
ANALISA TORRES, District Judge:

 

The Court has reviewed the parties’ letters dated March 3, 9, 10, 12, and 16, 2021, ECF Nos.
49-50, 54-56, 63, 70. Accordingly,

1. Defendants Garlinghouse’s and Larsen’s requests for leave to file a motion to dismiss is
GRANTED;

2. By April 12, 2021, Defendants Garlinghouse and Larsen shall file their motions to
dismiss;

3. By May 14, 2021, Plaintiff shall file its opposition papers; and

4. By June 4, 2021, Defendants Garlinghouse and Larsen shall file their replies, if any.

Separately,

Plaintiffs request for leave to file a motion to strike is GRANTED;
By April 22, 2021, Plaintiff shall file its motion to strike;

By May 13, 2021, Defendant Ripple Labs shall file its opposition; and
By May 27, 2021, Plaintiff shall file its reply, if any.

oONann

SO ORDERED.

Dated: March 18, 2021
New York, New York

CQ-

ANALISA TORRES
United States District Judge

 
